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              EXHIBIT C
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                                                    Sampled Terms

Defs Proposed Terms                                      Pls Proposed Term Modifications
                                                         "mental health" w/15 (scholar* OR kid* OR child* OR pupil* OR
                                                         teen* OR student* OR freshman OR freshmen OR sophomore*
                                                         OR junior* OR senior* OR "twelfth grade*" OR "12th grade*"
                                                         OR "grade 12" OR "eleventh grade*" OR "grade 11" OR "11th
"mental health"                                          grade*" OR crisis")"
                                                         "social media" w/30 ("health OR "threat*" OR "safe*" OR
                                                         "warning" OR "counselor" OR "discipline" OR "attack" OR
                                                         "bully*" or "bullie*" OR "emergenc*" OR "conflict" OR
                                                         "concern*" OR "content" OR "challenge" OR "legal" OR
"social media"                                           "outreach" OR "law" OR "incident" OR "investigat*")"
                                                         "Facebook" w/30 ("health OR "threat*" OR "safe*" OR "warning"
                                                         OR "counselor" OR "discipline" OR "attack" OR "bully*" or
                                                         "bullie" OR "emergenc*" OR "conflict" OR "incident" OR
"Facebook"                                               "commentary" OR "media" OR "legal" OR "investigat*")"
                                                         "YouTube" w/30 ("health" OR threat*" OR "safe*" OR "warning"
                                                         OR "counselor" OR "discipline" OR "attack" OR "bully*" or
                                                         "bullie" OR "conflict" OR "incident" OR "commentary" OR
"YouTube"                                                "media" OR "legal" OR "investigat*")"
                                                         (Covid* w/10 quarantine) w/30 ("health*" OR success" OR
                                                         "growth" OR "iPad" OR "laptop" OR "chromebook" OR "device"
                                                         OR computer OR "polic*" OR "instruction" OR "guidance" OR
Covid* w/10 quarantine*                                  "protocol")"
